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               ORAL ARGUMENT NOT YET SCHEDULED
                      No. 23-1157 and consolidated cases

               IN THE UNITED STATES COURT OF APPEALS
                FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                 STATE OF UTAH,
                                    Petitioner,
                                        v.
       UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
            and MICHAEL S. REGAN, Administrator, U.S. EPA,
                                   Respondents.

                      PROOF REPLY BRIEF OF
               PETITIONER-INTERVENOR SIERRA CLUB

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                                             Filed: August 9, 2024
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                          SUMMARY OF ARGUMENT

      EPA’s brief confirms that the Good Neighbor Rule falls short of the

pollution reductions required by the Act. EPA does not dispute that the Rule allows

states upwind of Wisconsin to continue sending pollution to downwind areas with

unhealthy air quality (even after full implementation in 2026), or that those states’

contributions will exceed EPA’s threshold of 1% of the health-based national

ozone standard. This contravenes the Good Neighbor Provision’s mandate to

“prohibit[]” pollution that “will contribute significantly to nonattainment” or

“interfere with maintenance” of the ozone standard in “any other state.” 42 U.S.C.

§ 7410(a)(2)(D)(i)(I). It also contravenes EPA’s obligation, which this Court has

repeatedly enforced, to implement the Good Neighbor Provision consistently with

the deadlines for downwind areas to attain the ozone standard.

      EPA seeks to justify its choice to undercontrol states upwind of Wisconsin

by claiming authority to define “contribute significantly” in terms of the cost of

controlling pollution. So long as the Rule requires the use of controls that

maximize cost effectiveness, EPA claims, any remaining pollution is insignificant

by definition and any undercontrol challenge must fail. But Sierra Club addressed

that argument directly in its opening brief, explaining that this interpretation of the

Good Neighbor Provision runs headlong into the limits that the Supreme Court




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identified in EPA v. EME Homer City Generation, 572 U.S. 489 (2014). Nothing

EPA says in its response overcomes Sierra Club’s argument.

      First, EPA cannot insulate its interpretation of “contribute significantly”

from review by claiming that Sierra Club’s challenge to the interpretation is a “new

issue” other parties do not raise. Wisconsin contests EPA’s interpretation too. And

EPA itself relies on its interpretation as its defense to Wisconsin and Sierra Club’s

undercontrol challenge. For both reasons, EPA cannot prevent Sierra Club from

contesting the interpretation.

      Second, on the merits, EPA has no answer to EME Homer. The Supreme

Court has made clear that EPA must prohibit enough cross-state pollution to enable

downwind attainment. EPA must do so in a way that balances overcontrol and

undercontrol, but it cannot devise a system that overlooks its statutory duty to

prevent undercontrol. By maximizing cost effectiveness—rather than maximizing

downwind attainment and then using cost to allocate the necessary reductions—

EPA’s interpretation flunks that test. Further, there is no way to reconcile EPA’s

interpretation, which allows cross-state pollution that prevents attainment to

persist, with the obligation to implement the Provision consistently with the

attainment deadlines that are at the heart of the Clean Air Act.




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      EPA’s attempts to salvage its interpretation all fail. EPA emphasizes the

need for the term “significantly” to play some role. But under Sierra Club’s

reading, it does: it excludes de minimis contributions. In any event, EPA has no

sound explanation for how “significantly” could do the work EPA requires when it

does not even appear in the “interfere with maintenance” prong. EPA also holds

out the discretion it has under the Provision, but it has no discretion to ignore its

statutory duty to minimize undercontrol. Any discretion EPA has to consider costs

in allocating the reductions needed for downwind attainment cannot be leveraged

to forgive the failure to enable downwind attainment in the first place. And

contrary to EPA’s suggestion, this Court’s cases do not authorize EPA to permit

undercontrol in pursuit of cost savings.

      Finally, EPA has no answer to Sierra Club’s argument that EPA failed in the

record to reconcile ongoing contributions to nonattainment and interference with

maintenance with statutory requirements. Even if EPA’s interpretation of

“contribute significantly” were lawful, the failure to require greater pollution

reductions would still be unreasonable and arbitrary on this record.




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                                   ARGUMENT

I.    THE RULE UNLAWFULLY AND ARBITRARILY
      UNDERCONTROLS POLLUTION FROM STATES UPWIND OF
      WISCONSIN.

      As Sierra Club’s opening brief explains, the Good Neighbor Rule violates

the Clean Air Act in a straightforward way. The statute requires EPA to

“prohibit[]” emissions of any pollutant in “amounts which will . . . contribute

significantly to nonattainment in, or interfere with maintenance by, any other

State.” 42 U.S.C. § 7410(a)(2)(D); see Sierra Club Br. 31-34. But the record here

makes clear that the Rule will permit states upwind of Wisconsin to continue to

contribute significantly to nonattainment and interfere with maintenance of the

ozone standard in Wisconsin and multiple other downwind states. See Sierra Club

Br. 30-31. As a result, the Rule fails the Clean Air Act’s requirements. See id. at

31-34.1

      The factual bases for Sierra Club’s argument are not in dispute. EPA does

not contest that, when fully implemented, the Rule will allow states upwind of

Wisconsin to continue interfering with maintenance of the ozone standard in

Wisconsin and other states. Id. at 30-31. Nor does EPA contest that its ozone




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  No party to this petition contests Sierra Club’s argument that the proper remedy,
if this petition is granted, is remand of the Rule without vacatur. Sierra Club Br.
37-39.


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projections are too optimistic and that the polluted downwind areas are, in fact,

likely to suffer nonattainment. Id.

      EPA instead resists Sierra Club’s challenge on other grounds, one procedural

and one legal. Neither works. Its procedural argument is that Sierra Club’s

argument fails because it is a “new issue[]” that Wisconsin did not raise. EPA Br.

140 n.24. But Sierra Club’s argument is the same as Wisconsin’s: The Rule

undercontrols upwind-state pollution in violation of the Act. See infra § I.A.

      EPA’s legal argument is that its Rule is valid because “the Good Neighbor

obligation” does not require “upwind sources . . . to reduce all of their emissions

that contribute to downwind nonattainment,” but just “their ‘significantly’

contributing emissions.” EPA Br. 137-39. In EPA’s view, it has discretion to count

as “significant” only pollution that can be eliminated with control strategies

selected to “maximize cost effectiveness.” Id. at 9; accord id. at 138-39. But that

statutory interpretation conflicts with the Supreme Court’s authoritative

interpretation of the Act. See infra § I.B. EPA’s interpretation would also authorize

large upwind-state contributions to ongoing downwind air quality violations,

contrary to the Act’s central command of timely attainment. Id. In addition, EPA

unreasonably and arbitrarily failed to explain—in the Rule and again in its brief—

how its approach is consistent with any interpretation of the Good Neighbor

Provision’s requirements. See infra § I.C.



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      A. Whether EPA’s approach to undercontrol violates the Act is not a
         “new issue” because Wisconsin and EPA both raise it.

      Seeking to sideline the issue of whether its approach to undercontrol is

consistent with the Act, EPA labels Sierra Club’s argument as seeking to “preclude

EPA from using its longstanding methodology for determining ‘significant’

emissions” and contends that is a “new issue” that only Sierra Club raised. Br. 140

n.24. But Sierra Club actually argues that the Rule falls short of EPA’s statutory

obligation to avoid undercontrol and objects to EPA’s “methodology” because its

use here conflicts with that obligation. Sierra Club Br. 31-32. That parallels

Wisconsin’s argument, as Wisconsin also contends the Rule must be revisited

because EPA undercontrolled upwind-state pollution in violation of the Act.

Wisconsin Br. 27, 38; see also Wisconsin Reply Br. 10-15.

      Indeed, EPA itself responds to Wisconsin’s undercontrol claim by pointing

to its interpretation of “significant” and its methodology for defining significant

emissions. EPA Br. 137-41. Having done so, it can hardly complain that Sierra

Club (like Wisconsin, Reply Br. 10-15) contests the lawfulness of EPA’s

interpretation and methodology. Sierra Club’s arguments for why Wisconsin’s

statutory argument is correct, and EPA’s is wrong, properly “join issue . . . on a

matter that has been brought before the court by another party.” Illinois Bell Tel.

Co. v. FCC, 911 F.2d 776, 786 (D.C. Cir. 1990).




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      B. EPA faces a statutory mandate to avoid undercontrol of cross-state
         pollution.

      The Good Neighbor Provision’s clear mandate to EPA is to “prohibit[]”

emissions of any air pollutant in “amounts which will . . . contribute significantly to

nonattainment,” 42 U.S.C. § 7410(a)(2)(D), or “interfere with maintenance,” id.

EPA contends the Clean Air Act grants it authority to ignore the ongoing cross-

state pollution by claiming that pollution is not “significant,” on the theory that

pollution is not significant unless the technologies that control it “maximize[] cost

effectiveness.” EPA Br. 9; accord id. at 138-39.

      EPA’s gloss on “contribute significantly” conflicts with the Supreme Court’s

decision in EME Homer. There, the Court confirmed that the Good Neighbor

Provision, including the phrase “contribute significantly,” requires EPA to prohibit

upwind-state pollution that prevents attainment or interferes with maintenance.

Faced with the same statutory text EPA relies on here, the Court explained that

“EPA’s task” “is to reduce upwind pollution” in “‘amounts’ that push a downwind

State’s pollution concentrations above the relevant [air quality standard].” EME

Homer, 572 U.S. at 514 (quoting 42 U.S.C. § 7410(a)(2)(D)(i)). In other words, the

statute requires EPA to reduce upwind-state pollution by “just enough” to enable

downwind states to achieve legally mandated air quality levels. Id. at 515 n.18.

      The Court’s instructions to EPA about how to balance the competing risks of

overcontrol (reducing pollution by more than needed to enable attainment) and


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undercontrol (failing to reduce pollution enough to enable attainment) confirm that

EPA must aim for eliminating the upwind pollution that prevents downwind

attainment. EME Homer, 572 U.S. at 521-23. As the Court explained, the Good

Neighbor Provision imposes a “statutory obligation” to “maximize achievement of

attainment downwind” and thus “requires EPA to seek . . . attainment” “in every

downwind state.” Id. at 523. That “statutory obligation” to “avoid ‘under-control’”

remains even though EPA “cannot require a State to reduce its output of pollution

by more than is necessary” to achieve that end. Id. at 521-23. EPA is obligated,

therefore, to strike a balance between over- and undercontrol, but that balancing

must reflect that EPA “maximize[d] the achievement of attainment downwind.” Id.

at 523.2

      EPA’s interpretation of “significantly” flouts the Supreme Court’s

instructions. It “maximizes” cost effectiveness instead of maximizing the

Provision’s goal of attainment. EPA Br. 9; accord id. at 138-39. And it does so

even though elevating cost savings in this way allows upwind states to continue

preventing attainment downwind.



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  The Court also emphasized the conditions under which an upwind State might
complain: where it “concludes it has been forced to regulate emissions . . . beyond
the point necessary to bring all downwind states into attainment.” Id. at 523-24
(emphasis added). It does not say that upwind states could challenge the plan
where it has been forced to regulate emissions beyond the point where cost-
effectiveness is maximized.


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         Indeed, the undisputed record in this case shows how EPA’s interpretation—

which is focused on maximizing cost-effectiveness—allows EPA to miss the target

that the Provision and the Supreme Court said it must hit. EPA dismisses

Wisconsin and Sierra Club’s evidence of EPA’s “overpredicting air quality

improvement” as irrelevant because changes in air quality do not change what

matters under EPA’s interpretation—“what control measures would be cost-

effective in upwind states.” EPA Br. 141-42. This response turns EPA’s Good

Neighbor obligations on their head: rather than focus on reducing upwind-state

pollution by “just enough” to enable “satisfactory air quality” downwind, as EME

Homer demands, 572 U.S. at 515 n.18, EPA claims it can select relatively cheap

pollution controls, ensure they do not overcontrol, and call it a day. Accord EPA

Br. 9.

         An approach that makes continuing nonattainment problems irrelevant

cannot possibly be squared with a statute that not only requires attainment, but

requires attainment by fixed deadlines. 42 U.S.C. § 7410(a)(2)(D), 7511(a); Sierra

Club Br. 32. Those attainment deadlines are the “heart” of the Act, Train v. NRDC,

421 U.S. 60, 66-67 (1975), and “leave no room for claims of technological or

economic infeasibility.” NRDC v. EPA, 777 F.3d 456, 468 (D.C. Cir. 2014)

(citation omitted). That EPA’s approach undermines timely attainment—the Clean

Air Act’s “central object”—is another reason the Court should reject it. See



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Wisconsin v. EPA, 938 F.3d 303, 316 (D.C. Cir. 2019) (citing Train, 421 U.S. at

64); Sierra Club Br. 32.

      Nothing in EME Homer or this Court’s cases permits EPA to redefine large

pollution contributions to downwind air quality problems as “insignificant.” EPA

contends otherwise, claiming that the Supreme Court and this Court have upheld

its “discretion” to “‘defin[e]’ significant emissions” and its cost-based

“methodology for giving effect to the phrase ‘significantly contribute.’” EPA Br.

138-39. EPA is doubly wrong.

      First, EPA’s authority to consider cost does not give “effect” to “the phrase

significantly contribute.” EME Homer locates EPA’s authority to consider costs not

in the term “significantly” but instead in “Congress’ silence” regarding how EPA

should allocate needed pollution reductions among overlapping upwind

contributors. 572 U.S. at 515, 518-20; accord id. at 525 (Scalia, J., dissenting)

(explaining that EPA advanced the argument that the statutory term “significantly”

encompasses cost of compliance, but the majority did not adopt it). It would be

passing strange for “significantly” to do that work where that term does not even

appear in the interference-with-maintenance prong. 42 U.S.C. § 7410(a)(2)(D).

EPA’s authority for considering costs—which it concedes it does the same way

under both prongs, EPA Br. 139 n.23—would have to come from somewhere else.




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      Second, EPA misunderstands the scope of its discretion. EPA’s discretion to

consider costs can come into play only after it has selected an emissions reduction

target consistent with downwind attainment. Once EPA selects that target, it can

use cost to determine which pollution reductions to prioritize and to allocate these

reductions among overlapping upwind contributors. EME Homer, 572 U.S. at 518-

20. Its discretion to consider costs does not permit it to define away emissions that

contribute to nonattainment in the first place.

      The distinction is important. Allowing EPA discretion to consider cost in

deciding how to allocate needed reductions leaves intact the obligation to reduce

pollution enough to enable downwind attainment, while empowering EPA to

pursue that goal efficiently and equitably. EPA’s interpretation—where upwind

state pollution is not “significant” unless identified controls “maximize cost

effectiveness,” EPA Br. 9—could be used to allow even large contributions to

downwind nonattainment to persist, defeating not only the core requirement of the

Good Neighbor Provision, but the “central object” of the Clean Air Act itself:

timely attainment of air quality standards. Wisconsin, 938 F.3d at 316.

      None of the cases EPA and Midwest Ozone Group invoke alter this

conclusion. Wisconsin, for example, acknowledges that the Good Neighbor

Provision gives EPA “a measure of latitude” to determine significance, but

Wisconsin did not suggest that latitude authorizes EPA to abandon the target of



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downwind attainment. Id. at 320. Indeed, Wisconsin emphasized that the Provision

was enacted “to enable downwind States to keep their levels of air pollution in

check,” and rejected the rule at issue as inconsistent with the Act’s attainment

deadlines. Id. at 316. And while Michigan v. EPA, 213 F.3d 663 (D.C. Cir. 2000),

approved EPA’s use of cost to determine what emissions upwind states must

eliminate, that decision predates EME Homer, where the Supreme Court found this

Court had not “accurately construed the limits the [Act] places on EPA’s

authority.” 572 U.S. at 506. In so holding, the Supreme Court rejected the view

that deliberate undercontrol is acceptable, and there is no decision from this Court

since holding otherwise.3

      EPA makes two additional arguments in support of its reading of “contribute

significantly,” and this Court should reject both. First, it contends that this qualifier

must exclude some emissions from consideration or else “significantly” would be

“read . . . out of the statute.” EPA Br. 137-38. Here again, EME Homer supplies

the answer: “[S]ignifican[ce]” still does work where it excludes de minimis levels

of contribution (in that case, contributions below 1% of the standard) to a

downwind state’s nonattainment. 572 U.S. at 521-23. It would make little sense, by



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  EPA also cites language (at 139) from Maryland v. EPA, but that language
appeared in a section of the opinion entitled “Regulatory History” that simply
recited EPA’s methodology, without opining on its legality. 958 F.3d 1185, 1192
(D.C. Cir. 2020).


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contrast, for Congress to silently imply what EPA contends is the central

framework for its decision-making—maximizing cost-effectiveness—in that term.

Congress does not “hide elephants in mouseholes.” Whitman v. Am. Trucking

Associations, 531 U.S. 457, 468 (2001). Indeed, as noted above (at 10), that term

does not modify the interference with maintenance prong. Without “significantly,”

EPA lacks any textual basis—even an implausible one—for allowing pollution to

interfere with maintenance on cost-effectiveness grounds. 42 U.S.C. §

7410(a)(2)(D).

      Second, EPA contends EME Homer cannot be understood to prohibit

undercontrol because “the Supreme Court in EME Homer considered an EPA rule”

that allowed continued downwind nonattainment. EPA Br. 140 n.24. But the

Supreme Court was confronted with the question of what the statute requires;

whether the rule in fact resulted in undercontrol or overcontrol was left to be

worked out through “particularized, as-applied challenge[s].” 572 U.S. at 524.

      That leaves EPA’s final fallback argument that, even if EME Homer

supports an “undercontrol argument,” it fails if a challenger does not

“demonstrate[] any flaws in EPA’s technical assessments” or “identify any

technology EPA neglected to consider.” EPA Br. 140-41. EPA has disclaimed any

argument that is it technically impossible to provide for additional reductions, EPA

Br. 138 n.22, so this argument must operate from the same flawed premise just



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addressed—that there is no undercontrol if the control strategies for the remaining

emissions would not maximize cost effectiveness. But again, undercontrol exists

under the statute where EPA fails to require the pollution reductions necessary for

downwind attainment and maintenance, see supra 7-11. And so, Sierra Club (and

Wisconsin) made the only showing required to support an undercontrol argument

when they demonstrated that the fully implemented Rule allows states upwind of

Wisconsin to continue contributing pollution above EPA’s 1% threshold to

downwind areas with ongoing attainment and maintenance problems. Sierra Club

Br. 30-31.

      C. EPA unreasonably and arbitrarily failed to heed the statutory
         mandate to avoid undercontrol.

      EPA does not respond to Sierra Club’s related argument (at 34-36) that the

agency unreasonably and arbitrarily failed to address undercontrol in the record.

Though in its brief EPA argues the Act is satisfied so long as EPA selects control

technologies based on cost, in the record EPA failed to provide that (incorrect)

explanation. EPA said nothing about undercontrol and failed to explain how

allowing upwind pollution that prevents downwind attainment and interferes with

downwind maintenance “comports with the statute.” Sierra Club Br. 35-36; North

Carolina v. EPA, 531 F.3d 896, 909 (D.C. Cir. 2008). Instead, EPA pointed

irrationally to its overcontrol analysis, without providing any account of why the

conclusion that the rule does not overcontrol would show that the rule does not


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undercontrol. Sierra Club Br. 36; 88 FR 36654, 36750 (June 5, 2023) (overcontrol

analysis relying on unabated contributions above 1% to nonattainment and

maintenance areas after full implementation). EPA thus failed to respond

adequately to comments objecting to undercontrol, “demonstrat[ing] that [EPA’s]

decision was not based on a consideration of the relevant factors.” Sherley v.

Sebelius, 689 F.3d 776, 784 (D.C. Cir. 2012).

      The closest EPA came to a record explanation of why continued upwind-

state contributions to nonattainment and maintenance areas after 2026 are lawful

was the conclusory statement that “all possible emissions reductions” had been

required “in all cases.” Sierra Club Br. 25-26, 36. But EPA abandons that claim in

its brief and defends only the limited claim that certain controls cannot be installed

by 2024. EPA Br. 138 n.22, 144-45. See Fox v. Gov’t of DC, 794 F.3d 25, 29 (D.C.

Cir. 2015) (an argument not briefed is forfeited).

      EPA also never addressed whether additional pollution reductions would

meet the significance test EPA advances in its brief (at 9, 138-39). Commenters

pointed out a wide range of available pollution reductions—including but not

limited to reductions in volatile organic compound (VOC) pollution and mobile-

source pollution, Sierra Club Br. 14; Wisconsin Br. 41-55; EPA-HQ-OAR-2021-

0668-0758 64, 154-59, JA___—and EPA rejected them without ever claiming

those reductions are not significant, either in terms of magnitude or under the



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interpretation focused on cost of controls. E.g., 88 FR 36720 (mobile sources),

JA___; id. at 36671, JA___ (VOCs); Response to Comments 374-76 (buildings

and other pollution sources not evaluated), JA___-__. Even now, EPA still does

not advance any claim that VOC and mobile-source pollution is not significant,

only vague and statutorily irrelevant claims that addressing them is “unnecessary”

or not “appropriate.” EPA Br. 149-59. EPA has therefore forfeited the argument

that this pollution is not significant. See Fox, 794 F.3d at 29. And EPA’s complete

failure to reconcile the treatment of VOC and mobile-source pollution with

statutory requirements—in the record or in its brief—confirms the Rule’s

unlawfulness.

                                  CONCLUSION

      For the foregoing reasons, the Court should remand the Good Neighbor Rule

to EPA, without vacatur, with instructions to promulgate expeditiously a revised

rule that achieves the pollution reductions required by the Act.




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Dated:   August 9, 2024                   Respectfully submitted,

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    CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMIT

      Pursuant to Federal Rule of Appellate Procedure 32(g)(1), D.C. Circuit Rule

32(e)(2)(C), and the Court’s December 4, 2023 and January 4, 2024 Orders

establishing the briefing format, counsel hereby certifies that the foregoing Proof

Reply Brief of Petitioner-Intervenor Sierra Club contains 3,482 words, as counted

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requirements of the Federal Rules of Appellate Procedure, 32(a)(5) and (a)(6),

because this document has been prepared in a proportionally spaced typeface using

Microsoft Word for Microsoft 365 using size 14 Times New Roman font.

                                              Dated: August 9, 2024

                                              /s/ Neil Gormley
                                              Neil Gormley




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